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Exhibit D Mr. Burwell’s Experi Designation
Exhibit E Cox Report to the F.BLIE.

Exhibit F Barnes Report to the F.B.1.
Exhibit G Report of Pannell Tasering
Exhibit 4 Taser data

Exhibit | Photographs of Plaintiff's injuries

